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    6 MILLER, ALEJANDRO LOMELI and MARC ELIZONDO
    7
                                 UNITED STATES DISTRICT COURT
    8
                 CENTRAL DISTRICT OF CALIFORNIA,WESTERN DIVISION
    9
   10
          .I:      •
                   ' .1      ~'17:~'~               CASE NO. CV 13-7597 CAS-FFMx
   11                                               [Hon. Christina A. Snyder]
                        Plaintiff,
   12                                               JOINT STATUS REPORT RE:
                 v.                                 SETTLEMENT;DECLARATION
   13                                               OF EDWARD L. HSU
      COUNTY OF LOS ANGELES,LEE
   14 BACA,GREGORY RODRIGUEZ,
      MONICA FARIAS,STEVEN
   15 MILLER, ALEJANDRO LOMELI,
      MARC ELIZONDO AND DOES 1
   16 THROUGH  10, inclusive,
   17                   Defendants.
   18
   19
   20 TO THIS HONORABLE COURT:
   21           Plaintiff CHRISTOPHER GRAY and Defendants COUNTY OF LOS
   22 ANGELES,COUNTY OF LOS ANGELES,LEE BACA,STEVEN MILLER,
   23 ALEJANDRO LOMELI,MARC ELIZONDO,GREGORY RODRIGUEZ,and
   24 MONICA FARIAS submit the following information regarding the settlement status
   25 pursuant to this Court's March 30, 2015 Order.
   26           On January 16, 2015,the parties settled the matter pending approval of by the
   27 Los Angeles County Claims Board and the Los Angeles County Board of
   28 Supervisors. (See Docket #47) On March 30, 2015, this Court ordered the parties
        HOA.1191262.1                                                 .V13-7597 CAS-FFMx
        JOINT STATUS REPORT
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    1 to file a joint status report within 60 days ofthe order and every quarter thereafter
    2 until a stipulation for dismissal is filed.
    3           The settlement in this matter came before the Los Angeles County Claims
    4 Board for the initial level of approval on July 6, 2015. The Claims Board approved
    5 the settlement on July 6, 2015. The settlement was presented to the Los Angeles
    6 Board of Supervisors on August 4, 2015 at which time it was approved. Currently,
    7 the settlement check is being processed and will be provided to Plaintiffs counsel as
    8 soon as it is available. (Declaration ofEdward L. Hsu,¶ 2)
    9
        DATED: August 21, 2015                  ORANGE LAW OFFICES
   10
                                                              /s/
   11                                           By
                                                      OLU K. ORANGE
   12
   13                                           Attorneys for Plaintiff Christopher Gray

   14
        DATED: August 21,2015                   MARY C. WICK:HAM
   15                                           Interim County Counsel

   16                                                         /s/
                                                By
   17                                                 EDWARD L. HSU
                                                      Deputy County Counsel
   18
   19                                           Attorneys for Defendants COUNTY OF LOS
                                                ANGELES,LEE BACA,STEVEN MILLER,
   20                                           ALEJANDRO LOMELI and MARC
                                                ELIZONDO
   21
   22 DATED: August 21,2015                     SEKI,I~TISHIMURA & WATASE

   23                                                         /s/
                                                I',
   24                                                 GILBERT M. NISHIMURA
   25                                           Attorn~e~~~ys for Defendants GREGORY
   26                                           RODRIGUEZ and MONICA FARIAS

   27
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        HOA.1191262.1                                                  CV13-7597 CAS-FFM
        JOINT STATUS REPORT                           -2-
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    1                           DECLARATION OF EDWARD L. HSU
    2           I, Edward L. Hsu, declare as follows:
    3            1.     I am an attorney duly admitted to practice before this Court. I am a
    4 Deputy County Counsel in the office ofthe Los Angeles County Counsel, attorneys
    5 ofrecord for the Defendants COUNTY OF LOS ANGELES,LEE BACA,STEVEN
    6 MILLER, ALEJANDRO LOMELI and MARC ELIZONDO. I have personal
    7 knowledge ofthe facts set forth herein, except as to those stated on information and
    8 belief and, as to those, I am informed and believe them to be true. If called as a
    9 witness, I could and would competently testify to the matters stated herein.
   10           2.      The settlement in this matter came before the Los Angeles County
   11 Claims Board on July 6, 2015. The settlement was approved by the Claims Board
   12 on July 6, 2015. I am informed and believe the settlement was presented to the Los
   13 Angeles County Board of Supervisors on August 4, 2015 at which time it was
   14 approved. I am informed and believe that currently, the settlement check is being
   15 processed and will be provided to Plaintiffs counsel as soon as it is available.
   16           I declare under penalty of perjury under the laws ofthe United States of
   17 ~ America that the foregoing is true and correct.
   18           Executed on August 21, 2015, at Los Angeles, California.
   19
   2~                                                     ~S~
                                                     Edward L. Hsu
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        JOINT STATUS REPORT                         -3-
